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                                                                     WILLIAMS CENTERTOWER                           I
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Mr\NUIL M PIU-LAIUiZ                                                                                                                                                         ]   KNOLOVIl'S
                                                                                                                                                               JENNII'HR
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                                                                        December 16,2A2l



               yiq. cru *i I o n lv i s b rv 4$.Cr)b rv an   f   qrrill'co l4
               J, Spencer Bryan
               Bryan & Tenill Law, PLLC
               3015 E, Skelly Drive, Suite 400
               'fulsa,         OK
                           74105
                                                                                                          Re;                  Lakey v. City of Wilson
                                                                                                                               Our File No. 188-149

               Dear Mr, Bryan:
                                                                                                  (Doc' 215), the
                        Wc are in receipt of your Notice of Intent to Pursue Rule 11 Sanctions
                                                                                             issue'.Your  Notice is
               filing of which was the hrst and only communication from you regarding th]9
                                                                                                   legally without
               procedurally improper, and your pioposed motion for sanctions is factually and
               merit, filled with inaccurate and incomplete misstatements to the Court,
                                                                                                In your proposed
               motion, you state tnai
                                        iit upp.om Schaaf and Coley submitted demonstrably false affidavits to
                                                                                                   pg' 6)' Your
               avoid liability fbr other crimes committecl by Josh Taylor"' (Doc' 215-l'
                                                                                motion, is premised  on the words
               ciemonstrably false statement, and in fact your entire frivoious
               o'lnterim Chief' which uppru, on the JuIy 24,2017, notification to CLEET, which       is attached as

               Ilxhibit 1 to your frivolous motion' (Doc' 215-1, pg' 10)'

                     Not only have you taken the phrase "interim chief' completely out of context,
                                                                                                              and
                                                                                          your proposed    motion
               improperly and'deceiifily conflated that phrase with "acting chief',  but
                                                                                               Schaaf and Chiel'
               completely ignores and dlstorts the context in which the Affidavits of Mayor
               Coley were submitted. In both your Second Amended Complaint and
                                                                                                Third Amended
                                                                                    police chief fo-r wilson" and
               complaint, you attegeJ that in iuly 2019 Josh Taylor was "the_acting
               therefore Taylor wai the linal poiicymaker for Wilson. (Doc' 54;
                                                                                Doc' 87; Doc' I 15)'

                       In some sontorted exercise of semantic gymnastics, you point to chief
                                                                                                  coley's July 2017
                                ,,lnterim Chief ' as creating somJ contradiction with the Affidavits. The Affidavits
               appointment as
                                                                                         in 2017' As I am sure you
               have nothing whatsoever to do with Chiefboley's interim appointment
                                                                                     you through discovery, former
               know from reading the city council Minutes that were provided to
               police Chief Felix Hernandez was suspended witho;t           pay  in July 2017, (See attached DEF
                                                                                        thereafter, he submitted his
               0704-0705, City Council Meeting Minutes July 17, 2017),.- Shortly
                                                                                         suspension and retirement
               letter of retirement from his posltion as Wilsbn Police Chief' His
               created a vacancy, which would leave the city of wilson w-rlh$ltt
                                                                                          any Chiell pl'Pqlic-e' In

                {oo6383eei                                                                                                                                                          EXHIBIT
                                                                                                                                                                         I
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                                                                                                                                                                         !
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J. Spencer Bryan
December 16,2A2l
Page 2

            with state statute (ll O.S' $9'll8), the Mayor-appointed Kevin Cole.V "lnterim
                                                                                   as
accordance
                                                        and.Cily Council accepted Hernandez's
Chief'to fill tlrre-.Vacancy until.Ihp.next
retirementIetterandffi;;ffiInterimct'i*tatitsnextregularCouncil
                                        'pqpl{ullleclipn,
                                          pEp 0706-0707,City council Meering Minutes Jvly 27,
Meeting on July zl,ztit7 . (see attacheo
                                                                  Head Change" and Coley's
2017). The City notified bfpE.l. of the City's "Department
appointment as lnterim Chief, (Doc, 215-1, pg, l0) qy
                                                             notified CLEET of Hernandez's
                                                               EmploymenVTermination, signed and
retirement effbotive July 24 2017. (See attached'liotice of
submitted by Chief C;i*t on July        26,2017,) Coley served ?i tire City's one and only Chief of
police until the election in April
                                     'z0lg.  Ani, as you ktto*, Chief Coley ran unopposed and was
                                                                  as the City's one and only Chief of
elected iry fhe citie0n$ o{i Wi.lsor}, and has continued to serve
Police since the aprflZOtl et."tLn. The City notifred CLEET of
                                                                       Coley's title change' removing
                                                              pg, 1l). consistent-with*the Affidavits
the word,,lnterirno'from his title as chief. (Doc. 215-1,
                                                                          from CLEET establish that
filed with the Cogrt, i{."i" ioley's records tirat you recently obtained
                                                                              2017'
he has served,  uninterrupted, as ivilson's onl),'Chief of Police since July

        you have also obtained the entire file of Joshua Taylor flom CLEET' As you know, there
is Rp$iug in his file indicating that cLEET was ever notified of
                                                                  any acting or interim. appointment
                                 police. Joshua Taylor's.GLEET   file also confirms and supports the
of raylor as Wilson,s chief o:f
                                                                 and  Frank Schaaf'
truth and acauracy of the Affidavits submitted by Kevin Coley
                                                                                 Cotey's appointment
        By ignoring the clear and unequivocal factual record regarding Chief
ancl election and the ri.u, ubrrn"e of any factual information
                                                               oidocumentation that contradicts the
                                                                             is, at best, willfully and
truth of the Affidavits in question, your proposed motion for sanctions
                                                                         you  chose to improperly file
recklessly misleacting. At *orrt, ii is intentionally deceptive-  Since
                                                                      to your'oNolice",   I urge you to
you,. propored motiJ fbr sanctions with the Court as an attashment
                                                                                    Should you fail or
immediately withdraw your Notice of Intent to Pursue Rule 1l Sanctions'
                                                                        please be aware we will seek
refuse to do so ana instead press forward with your frivolous motion,
                                                                         your motion, as provided in
to recover all expenses and attorneys' fees incurred in responding to
FRCP Rule 11,
                                                                              without first making
        As is your habit ancl practice, you fired off your frivolous "Notice"
                                                                                or dispute without
any efforl to'discuss the subject in an effort to resolve any disagreement
                                                                            to discuss any of these
involving the Court. Neverthiless, as always, I would be more than happy
issues with you,

                                                       SincerelY,




                                                       'l'hon:ss A, LeBlanc
TAL/dvl
cc:     All   Counsel of Record




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